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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF ARIZONA
CR-17-01110-PHX-DLR(|

United States of America,
Plaintiff,

V&

Fanny Madrigal-Lopcz,
Defendant.

 

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THE GRAND JURY CHARGES:

COUNT 1

VIO:

21 U s C. §§ 856(3)

V\HB)
INDICTME NT

l) and 856(b)

(Maintaining Drug- Involved

Premises)

(Count l)

21U...§SC 841(21)_ l) and
84l(b)(le)§C (Distribution of a
Controll ubstance Resulting 1n
Death and Serious Bodily Injury)
(Count 2)

18 U.S.C. § 981

21 U.S.C. §§ 853 ant
28 U.S.C. § 2461(0)
(Forfeiture Allegatio

1881,and

ns)

Between in or about the summer of 20l6 through on or about November 16, 2016,

in the District of Arizona, the defendant, FANNY MADRIGAL-LOPEZ,

open, lease, rent, use, or maintain any placc, that is, a residence located at 73

did knowingly
36 West Vogel

Avenue, Peoria, Arizona, Whether permanently or temporarily, for the purpose of

distributing:

- oxycodone, a Schedule ll controlled substance; and

- a mixture or substance containing a detectable amount of fentanyl,

controlled substance.

a Schedule 11

 

 

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In violation of Title 2l, United States Code, Sections 856(a)(l) and 56(b).
wl
On or about November 16, 2016, in the District of Arizona, the defe dant, FANNY
MADRIGAL-LOPEZ, did knowingly and intentionally distribute a mixtu e or substance
containing a detectable amount of fentanyl, a Schedule II controlled sub tance, to P.L.,
whose death and serious bodily injury resulted from such substance.
In violation of Title 2l, United States Code, Sections 84l(a)(l) and 41(b)(l)(C).
FORFEITURE ALLEGATION
The Grand Jury realleges and incorporates the allegations of Counts l through 2 of
this Indictment, which are incorporated by reference as though fully set fo h herein.
Pursuant to Title 18, United States Code, Section 981; Title 21, Unit d States Code,
Sections 853 and 881; and Title 28, United States Code, Section 2461(0), and upon
conviction of the offense alleged in Counts l through 2 of this Indictment the defendant
shall forfeit to the United States of America all right, title, and interest in ( ) any property
constituting, or derived from, any proceeds the persons obtained, directly o indirectly, as
the result of the offense, and (b) any of the defendant’s property used, or intended to be
used, in any manner or part, to commit, or to facilitate the commission of such offense,
including, but not limited to, the following property involved and used in the offense:
(l) all that lot or parcel of land, together with its buildings, appurtenances,
improvements, fixtures, attachments and easements, located at 7336 West Vogel
Avenue, Peoria, Arizona and more particularly described as: Lot 52, Park View
West Unit Three, according to Book 209 of Maps, Page 45, Records of Maricopa
County, Arizona, APN: 143-10-057.
If any of the above-described forfeitable property, as a result of any act or omission

of the defendant:

(l) cannot be located upon the exercise of due diligence,

(2) has been transferred or sold to, or deposited with, a third party,

 

 

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(3) has been placed beyond the jurisdiction of the court,

(4) has been Substantially diminished in value, or

(5) has been commingled with other property which cannot be divided without

difficulty,
it is the intent of the United States to seek forfeiture of any other property of

said defendant

up to the value of the above-described forfeitable property, pursuant to 21 U.S.C. Section

853(p).
All in accordance with Title 18, United States Code, Section 981, 1

itle 21, United

States Code, Sections 853 and 881, Title 28, United States Code Section 2461(c), and Rule

32.2, Federal Rules of Criminal Procedure.

A TRUE BILL

/S/
FOREPERSGN OF THE GRANI
Date: August 16, 2017

ELIZABETH A. STRANGE
Acting United States Attorney
District of Arizona

/S/
D. J. PASHAYAN
CAROLINA ESCALANTE-KONTI
Assistant U.S. Attorneys

) JURY

 

 

